 BER-L-003841-21 10/07/2021 5:20:33 PM Pg 1 of 2 Trans ID: LCV20212344172
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                  BER-L-003841-21 10/07/2021 5:20:33 PM Pg 2 of 2 Trans ID: LCV20212344172
              Case 2:21-cv-18714 Document 1-7 Filed 10/15/21 Page 2 of 5 PageID: 494
                                                AFFIDAVIT OF ATTEMPTED SERVICE


NEW JERSEY SUPERIOR COURT
BERGEN COUNTY

TAMAR GRUEN BAUM

VS.                                                                                                      JNDEX# 1-003841-21

SHANALEE ACKERMAN

State ofNew York, County ofNew York, SS:
          JACK JOHNSON, being duly sworn deposes and says that deponent is over the age of eighteen years, is not a party to this action,
and is a resident of the State ofNew York.

Deponent attempted to serve the annexed:
                                                 COVER LETTER DATED 9/24/2021
                                                    CIVIL ACTION SUMMONS:
                                                  TRACK ASSIGNMENT NOTICE:
                                                        CSI STATEMENT:
                                                 COMPLAINT AND JURY DEMAND
        A
upon SHNALEEACKER.t'\1.AN at:

                                                       1775 YORK AVE., APT SF
                                                        NEW YORK, N.Y. 10128

Deponent was unable, with due diligence to serve SHANALEE ACKERMAN
The following times are when attempts were made:
unable to serve
9/27/2021 at 5:00p.m.-not in-left business card with building concierge
9/29/2021 at 2:00p.m.-received call from shana(425-503-1607)and she told deponent that she was not in New York City. She further stated
that her exhusband had alread received a set of the documents in Florida




                                                                                                          Jack Johnson
                                                                                                         Process Server
                                                                                                        Lie. No. 2037237




 59l/PS9.2l-8 J
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Case 2:21-cv-18714 Document 1-7 Filed 10/15/21 Page 3 of 5 PageID: 495
 BER-L-003841-21 10/07/2021 5:23:05 PM Pg 2 of 3 Trans ID: LCV20212344440
Case 2:21-cv-18714 Document 1-7 Filed 10/15/21 Page 4 of 5 PageID: 496
                   BER-L-003841-21 10/07/2021 5:23:05 PM Pg 3 of 3 Trans ID: LCV20212344440
               Case 2:21-cv-18714 Document 1-7 Filed 10/15/21 Page 5 of 5 PageID: 497
                                               AFFIDAVIT OF ATTEMPTED SERVICE


NEW JERSEY SUPERIOR COURT
BERGEN COUNTY

TAMAR GRUEN BAUM

vs.                                                                                                      INDEX# 1-003841-21

SHANALEEACKERMAN
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and is a resident of the State ofNew York.

Deponent attempted to serve the annex:ed:
                                                 COVER LETTER DATED 9/24/2021
                                                   Civ'IL ACTION SUMMONS:
                                                  TRACKASSIGNMENT NOTICE:
                                                        CSI STATEMENT:
                                                 COMPLAINT AND JURY DEMAND

upon ACKERMAN PRACTICE MANAGEMENT,LLC. at:

                                                      1775 YORKAVE., APT SF
                                                       NEW YORK, N.Y. 10128

Deponent was unable, with due diligence to serve ACKERMAN PRACTICE MANAGEMENT,LLC.
TI1e following times are when attempts were made:
unable to serve
9/27/2021 at 5:00p.m.-not in-left business card \.Vith building concierge
9/29/2021 at 2:00p.m.-received call fro�n shana(425-503-1607)and she told deponent that she was not in New York City. She further stated
that her exhusband had alread received a set of the documents in Florida




SWORN TO BEFORE Iv1E ON September 29, 2021                                                                 Jack Johnson
                                                                                                          Process Server
                                                                                                         Lic.No.2037237




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